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            Response to Matthew Braynard Expert Report



                      Stephen Ansolabehere



                         December 4, 2020
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I. Statement of Inquiry

       1. I was asked to evaluate the expert report of Matthew Braynard dated November 20,

2020, and to determine whether the claims made therein and the related data collection supporting

them meet scientific standards for reliability and accuracy in my fields of research, which include

survey research and design, data science, and election analysis.



II. Summary

       2. Matthew Braynard’s report makes six Claims:

        (1) 18.39 percent of registered voters of Georgia who were sent but did not return absentee

ballots did not request absentee ballots;

        (2) 33.29 percent of voters who were sent absentee ballots but were not recorded as having

returned absentee ballots stated that they did mail their ballots back;

       (3) 1.53 percent of registered voters of Georgia who changed addresses before the election

and were recorded as having voted stated that they did not cast a vote;

        (4) 20,312 absentee voters were not residents of the State of Georgia when they voted, and

       (5) 1,043 early and absentee ballots were cast by people who were registered at post office

box addresses; and

       (6) 234 Georgians voted in multiple states.

       3. None of these claims meets scientific standards of my fields of research, including

survey research, political science, statistics and data sciences. There is no scientific basis for

drawing any inferences or conclusions from the data presented. None of the estimates are

presented with statistical measures that meet standards for evaluating evidence.
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           4. Each of the claims is couched with the phrase “to a reasonable degree of scientific

certainty.” This phrase is meaningless in scientific journals and disciplines. The National Institute

of Standards and Technology has warned against use of such a phrase by experts in legal

proceedings and concluded that “the term ‘reasonable degree of scientific [or discipline] certainty’

has no place in the judicial process.’” It has no place in the scientific research process.

           5. The survey on which Claims (1) and (2) are based is riddled with errors and biases that

render it invalid for purposes of drawing inferences about the quantities at issue here. There are

data errors in the topline summaries of the survey data and obvious errors in the design of the

survey that produced the results. 1 Specifically, individuals who may not have been the correct

person were allowed to answer the survey. Further, registration-based surveys such as this rely on

matching phone numbers to registration records, a process that is prone to error. The results

observed by Mr. Braynard can easily be explained by mismatches of phone numbers to voter

records in conducting the survey.

           6. The survey used to support Claims (1) and (2) and the survey used to support Claim (3)

have unacceptably low response rates, and no effort is made to correct for non-response bias. Less

than one percent of people who were targeted for contact ultimately responded to these surveys.

The report naively extrapolates from the data, assuming that the 99 percent of people who could

not be contacted or who refused to participate are just like the 1 percent who did participate. In

my professional experience, data with such low response rates are either not accepted as valid or

must be proven to be representative and accurate before they are relied on to draw scientifically

valid inferences and conclusions. The report provides no information about the descriptive




1
    “Topline” data generally represents a summary of the figures collected and relied upon in a survey or study.
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characteristics of the sample or the population studied and provides no assessment of whether the

data are in fact representative or accurate.

       7. Claims (3), (4), and (6) are based on list matching. The list matching methodologies

are not described adequately. The lack of a complete description of list matching methodology

fails to meet scientific standards of transparency and data presentation. What little information is

presented suggests that it is based on methodologies that have been debunked by statisticians and

by the US Civil Rights Commission for producing large numbers of incorrect matches.

       8. Claim (5) is based on analysis of addresses. This analysis does not meet scientific

standards of my fields of research. The statistics that are presented reveal that there is no

uniformity of coding and assessment and that the results are not reliable.

       9. Claim (6) is asserted but there is no further information in Mr. Braynard’s report to

support it beyond the claim.



III. Qualifications

       10.   I am the Frank G. Thompson Professor of Government in the Department of

Government at Harvard University in Cambridge, MA. Formerly, I was an Assistant Professor at

the University of California, Los Angeles, and I was Professor of Political Science at the

Massachusetts Institute of Technology, where I held the Elting R. Morison Chair and served as

Associate Head of the Department of Political Science. I am the Principal Investigator of the

Cooperative Congressional Election Study (CCES), a survey research consortium of over 250

faculty and student researchers at more than 50 universities, directed the Caltech/MIT Voting

Technology Project from its inception in 2000 through 2004, and served on the Board of Overseers

of the American National Election Study from 1999 to 2013. I am a consultant to CBS News’
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Election Night Decision Desk. I am a member of the American Academy of Arts and Sciences

(inducted in 2007). My curriculum vitae is attached to this report as Appendix B.

       11. I have worked as a consultant to the Brennan Center in the case of McConnell v. FEC,

540 U.S. 93 (2003). I have testified before the U.S. Senate Committee on Rules, the U.S. Senate

Committee on Commerce, the U.S. House Committee on Science, Space, and Technology, the

U.S. House Committee on House Administration, and the Congressional Black Caucus on matters

of election administration in the United States. I filed an amicus brief with Professors Nathaniel

Persily and Charles Stewart on behalf of neither party to the U.S. Supreme Court in the case of

Northwest Austin Municipal Utility District Number One v. Holder, 557 U.S. 193 (2009) and an

amicus brief with Professor Nathaniel Persily and others in the case of Evenwel v. Abbott 138 S.Ct.

1120 (2015). I have served as a testifying expert for the Gonzales intervenors in State of Texas v.

United States before the U.S. District Court in the District of Columbia (No. 1:11-cv-01303); the

Rodriguez plaintiffs in Perez v. Perry, before the U. S. District Court in the Western District of

Texas (No. 5:11-cv-00360); for the San Antonio Water District intervenor in LULAC v. Edwards

Aquifer Authority in the U.S. District Court for the Western District of Texas, San Antonio

Division (No. 5:12cv620-OLG); for the Department of Justice in State of Texas v. Holder, before

the U.S. District Court in the District of Columbia (No. 1:12-cv-00128); for the Guy plaintiffs in

Guy v. Miller in U.S. District Court for Nevada (No. 11-OC-00042-1B); for the Florida

Democratic Party in In re Senate Joint Resolution of Legislative Apportionment in the Florida

Supreme Court (Nos. 2012-CA-412, 2012-CA-490); for the Romo plaintiffs in Romo v. Detzner

in the Circuit Court of the Second Judicial Circuit in Florida (No. 2012 CA 412); for the

Department of Justice in Veasey v. Perry, before the U.S. District Court for the Southern District

of Texas, Corpus Christi Division (No. 2:13cv00193); for the Harris plaintiffs in Harris v.
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McCrory in the U. S. District Court for the Middle District of North Carolina (No.

1:2013cv00949); for the Bethune-Hill plaintiffs in Bethune-Hill v. Virginia State Board of

Elections in the U.S. District Court for the Eastern District of Virginia (No. 3: 2014cv00852); for

the Fish plaintiffs in Fish v. Kobach in the U.S. District Court for the District of Kansas ( No. 2:16-

cv-02105-JAR); and for intervenors in Voto Latino, et al. v. Hobbs, in the U.S. District Court for

the District of Arizona (No. 2:19-cv-05685-DWL). I served as an expert witness and filed an

Affidavit in the North Carolina State Board of Elections hearings regarding absentee ballot fraud

in the 2018 election for Congressional District 9 in North Carolina.

       12. My areas of expertise include American government, with particular expertise in

electoral politics, representation, and public opinion, as well as statistical methods in social

sciences and survey research methods. I have authored numerous scholarly works on voting

behavior and elections, the application of statistical methods in social sciences, legislative politics

and representation, and distributive politics. This scholarship includes articles in such academic

journals as the Journal of the Royal Statistical Society, American Political Science Review,

American Economic Review, the American Journal of Political Science, Legislative Studies

Quarterly, Quarterly Journal of Political Science, Electoral Studies, and Political Analysis. I have

published articles on issues of election law in the Harvard Law Review, Texas Law Review,

Columbia Law Review, New York University Annual Survey of Law, and Election Law Journal,

for which I am a member of the editorial board. I have coauthored three scholarly books on

electoral politics in the United States, The End of Inequality: Baker v. Carr and the Transformation

of American Politics, Going Negative: How Political Advertising Shrinks and Polarizes the

Electorate, and The Media Game: American Politics in the Media Age. I am coauthor with

Benjamin Ginsberg, and Ken Shepsle of American Government: Power and Purpose. I am being
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compensated at the rate of $550 an hour. My compensation is not dependent on my conclusions in

any way.



IV. Sources

       13. I have relied on the expert report of Matthew Braynard in this case.

       14. I have relied on the report of Dr. William Briggs in King v. Whitmer in the District

Court in the Eastern District of Michigan (No. 2:20-cv-13134). The Topline Tables appended to

Dr. Briggs’ report provide information on the response rates, design and implementation of, and

responses to the surveys used in Claims (1) and (2) of Matthew Braynard’s report. This information

was not disclosed in Mr. Braynard’s report in this case.

       15. I have relied on the Election Assistance Commission, “Election Administration and

Voting Survey (EAVS) for 2018: https://www.eac.gov/research-and-data/studies-and-reports. I

present data from 2018 because it is the most recent federal election for which data on absentee

and permanent absentee voting is available. The 2018 data are instructive about the magnitude of

permanent absentee voters and of the magnitude of unreturned, late, rejected, and spoiled absentee

ballots. The 2020 data are not yet reported.



V. Findings

       16. Matthew Braynard’s report makes six Claims:

        (1) 18.39 percent of registered voters of Georgia who were sent absentee but did not return

absentee ballots did not request absentee ballots;

        (2) 33.29 percent of voters who were sent absentee ballots but were not recorded as having

returned absentee ballots stated that they did mail their ballots back;
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       (3) 1.53 percent of registered voters of Georgia who changed addresses before the election

and were recorded as having voted stated that they did not cast a vote;

        (4) 20,312 absentee voters were not residents of the State of Georgia when they voted;

       (5) 1,043 early and absentee ballots were cast by people who were registered at post office

box addresses; and

       (6) 234 Georgians voted in multiple states.

       17. There is no scientific basis for reaching any of these conclusions. Mr. Braynard

prefaces each claim with the phrase “to a reasonable degree of scientific certainty,” a phrase that

the National Institutes of Standards and Technology concludes has no scientific mean and which,

as a journal editor, is not acceptable in the fields of survey research, data science, or political

science. Mr. Braynard presents no standard errors or confidence intervals, which are necessary to

gauge how informative estimates are.

       18. The estimates in Claims (1), (2), and (3) are extrapolations to a population of 138,000

registered voters from a few hundred responses to surveys that have design flaws that make the

survey unrepresentative of the population that is being studied.

       19. The basic information about these surveys is never disclosed by Mr. Braynard, in

violation of standards of transparency set by the American Association of Public Opinion

Researchers. From what information I have found in the reports of Dr. William Briggs about one

of the surveys, it is riddled with questionnaire design flaws and spread sheet errors, indicative of

quality control failures in the conduct of the survey, which render unreliable the calculation of any

estimates using it.
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       20. The surveys have unacceptably high rates of non-response. In the state of Georgia the

response rate to this survey was only 0.4 percent, meaning that of the entire set of people that Mr.

Braynard set out to study 99.6 percent could not be reached or would not answer the survey.

       19. An error in the branching of the survey questionnaire allows people who were not the

person that the survey targeted to answer Question 2 (did you request an absentee ballot?). More

people were improperly asked Question 2 (255) than responded that they did not return an absentee

vote (128).

       20. Claims (3), (4) and (6) are based on list matching and record linkage. There is no

disclosure of the methods used, especially which fields are used. Recent studies have found

millions of errors in list matching methodologies using first name, last name, and date of birth.

       21. The design of the survey and the resulting claims fail to account for features of absentee

voting and registration in Georgia. The surveys do not account for the fact that Georgia has

“rollover” absentees, which allow people to sign up to have ballots sent to them without requesting

them. According to estimates of the Georgia Office of the Secretary of State that were reported in

the media, there were approximately 580,000 rollover ballots in 2020. That figure far exceeds the

numbers “unrequested” absentees in Mr. Braynard’s report. The surveys do not separate rollover

voters from other absentee voters. Moreover, many absentee ballots arrive late or are rejected for

various reasons (e.g., lack of signatures). None of the Claims made by Mr. Braynard, then, are

supported by the data or analyses or meet standards of scientific inference.

       A. This report is not up to scientific standards of evidence.

               i. The report offers no conclusions based on scientifically accepted
               standards of evidence.

       22. Scientific standards in survey research, statistics and data science, and political science,

require that when researchers present statistics and estimates, such as Mr. Braynard does in each
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of his claims, the estimates be accompanied by statistical measures of the researcher’s confidence

or uncertainty about the estimates.      Most frequently, researchers present a standard error,

confidence interval, or margin of error. Such quantities are necessary for gauging how informative

estimates are, and what inferences and conclusions may be drawn. Survey research is not accepted

for publication without such information.

        23. Mr. Braynard’s report offers no measures of statistical precision or uncertainty in

association with any of the estimates presented in Claims 1, 2, 3, 4, 5, or 6. Without such quantities

it is impossible to draw statistical inferences from data. And, without such measures of the amount

of information in or uncertainty about estimates, the estimates are not accepted in scientific

research journals and publications as scientific evidence.

                ii. The report couches its conclusions as having “Reasonable Scientific
                Certainty,” which is meaningless in scientific research.

        24. The only expression of a foundation for the conclusion for each of the six factual claims

made in Braynard’s report is the following assertion: “it is my opinion, to a reasonable degree of

scientific certainty.”

        25. The expression “a reasonable degree of scientific certainty” is not a standard by which

scientific inferences and conclusions are made. It is not used in any of the journals in which I have

published, which includes the top journals in the fields of statistics, political science, and

economics, or journals on whose editorial boards I have served or have served as an editor,

including the Harvard Data Science Review and Public Opinion Quarterly.

        26. The standard-setting bodies that provide guidance to researchers have concluded that

“a reasonable degree of scientific certainty” should not be used to characterize scientifically drawn

conclusions or inferences in a judicial setting. Researchers across all fields follow the guidance

on the use of terminology from their own professions and from standard setting institutions, such
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as the National Institutes of Standards and Technology of the Department of Commerce. The

National Commission on Forensic Science of the National Institute of Standards and Technology

in its report “Testimony Using the Term ‘Reasonable Degree of Scientific Certainty’”

acknowledges that “The legal community should recognize that medical professionals and other

scientists do not routinely use ‘to a reasonable degree of scientific certainty’ when expressing

conclusions outside of the courts. Such terms have no scientific meaning and may mislead

factfinders [jurors or judges] when deciding whether guilt has been proved beyond a reasonable

doubt.”     The NIST report concludes, “the term ‘reasonable degree of scientific [or discipline]

certainty’ has no place in the judicial process.’” 2

                 iii. There is no disclosure of the methodologies and data used in this report.

          27. Mr. Braynard does not disclose sampling methodologies, sample sizes, questionnaires,

or response and breakoff rates. Mr. Braynard states that he conducted “randomized” surveys, but

the topline tables appended to Dr. Briggs’ report indicate, in my professional assessment, that at

the outset of the studies all people in the target population could have been included in the study

and that no randomization in fact occurred. Mr. Braynard does not disclose the number of correctly

matched phone numbers and the number of wrong numbers, though the toplines appended to Dr.

Briggs report reveal some statistics related to wrong numbers and records for which no phone

number was available.

          28. Mr. Braynard does not disclose list matching methodologies used for matching the

registration records to NCOA lists and voter files. It is my professional experience, based on my

own research and that of other scholars in my fields of study, that many of the algorithms



2
 National Commission on Forensic Science of the National Institute of Standards and Technology, U.S. Department
of Commerce, “Testimony on Using the Term ‘Reasonable Scientific Certainty,”
https://www.justice.gov/archives/ncfs/file/795336/download.
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commonly used for list matching are highly susceptible to errors of omission from the lists (false

negatives) and errors of inclusion of people who should not have been considered matches (false

positives). It is standard for scientific research using list matching and record linkage to provide

detailed information about the matching algorithms and to include measures of the accuracy of the

algorithms used. 3 No indicators of accuracy of matching methods, such as false positives and false

negatives, are included in Mr. Braynard’s report.

        29. The lack of transparency in Mr. Braynard’s report violates basic standards for scientific

evidence. The report does not disclose the basic features of the survey, including the survey

selection and contact procedures, the questionnaire design, and contact, response, and breakoff

rates. This violates accepted rules of scientific evidence in academic survey research and the Code

of Professional Ethics and Practices of the American Association of Public Opinion Researchers

(AAPOR). Journals such as Public Opinion Quarterly, which is the flagship journal of AAPOR,

require reporting of such information as a condition for publication of scientifically sound survey

research. 4 Mr. Braynard’s description of the research conducted is not up to the scientific

standards of fields in which I have published or serve in an editorial capacity.

        B. Errors in record keeping can readily explain all six claims made in this study.

        30. Past academic research on the accuracy of information on voter files nationwide has

found small rates of errors, on the order of 1 to 4 percent, in various fields on voter files, including

whether someone voted and how they voted. Specifically, past research that I have conducted has

found that nationwide the record of whether an individual voted is incorrect 2 percent of the time.



3
  W. E. Winkler, “Matching and Record Linkage” Statistical Research Division, U.S. Bureau of the Census (1993).
https://www.census.gov/srd/papers/pdf/rr93-8.pdf.
4
  American Association for Public Opinion Research, Disclosure Standards, https://www.aapor.org/Standards-
Ethics/AAPOR-Code-of-Ethics/Disclosure-Standards.aspx.
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These errors are omissions (neglecting to record that someone voted) and typos. 5 The state of

Georgia has over 7.2 million registration records. An error of 2 percent would correspond to

144,000 incorrect recordings of whether an individual voted. That number far exceeds the

magnitudes of the estimates that Mr. Braynard offers.

        31. Clerical errors in voter files make it difficult to conduct surveys based on these files to

determine whether or how an individual registrant or survey respondent voted. Research by

Matthew Berent and Jon Krosnick finds that such record keeping errors create errors in surveys

that are linked to voter files, such as the surveys conducted by Mr. Braynard, and make problematic

any attempts to draw inferences about whether a particular individual did or did not in fact vote. 6

These clerical errors result in discrepancies between votes counted according to the voter

registration rolls and votes counted in the official certification. 7 Record keeping errors and

inconsistencies are sufficient to account for Claims (1), (2), and (3) in Mr. Braynard’s report.

        32. Clerical error and inconsistencies in fields such as name, address, and date of birth

can create errors in attempts to link records across different lists, such as a voter file to NCOA or

across different states’ voter files. Specifically, typographical errors, variations in names, and

omitted information can lead to incorrect matches of voter registration records to commercial

phone lists, National Change of Address lists, and official government lists (including other states’

registration lists). Both false positives (matches that should not have occurred) and false negatives

(matches that did not occur but should have) arise. The quality of such matches is highly dependent




5
  Stephen Ansolabehere and Eitan Hersh, “The Quality of Voter Registration Records: A State-by-State Analysis”
Caltech-MIT Voting Technology Project Report Number 6 (July 14, 2010), http://vote.caltech.edu/reports/6.
6
  Matthew Berent, Jon Krosnick, and Arthur Lupia, “Measuring Voter Registration and Turnout in Surveys: Do
Government Records Yield More Accurate Assessments?” Public Opinion Quarterly 80 (2016): DOI:
10.1093/poq/nfw021.
7
  Ansolabehere & Hersh, op. cit., page 16.
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on the algorithms used. 8 Based on past research on the accuracy of voter files, the number of

clerical errors on statewide voter files across the nation is sufficiently high as to plausibly be larger

than any of the numbers presented in Mr. Braynard’s report.

        33. It is unclear from Mr. Braynard’s report what efforts he made, if any, to verify the

correctness of the information on the voter registration lists. Also, it is unclear what effort was

made to make sure that the algorithms used had very low rates of false positive and false negative

matches and were robust to the sorts of errors and inconsistencies encountered on registration and

commercial lists. None of the algorithms for matching phone numbers to registration records or

for matching registered voters to Georgia to NCOA or other states’ registration lists are disclosed.

        C. The survey reported in the study is not of sufficient quality to support the claims
        made.

        34. Mr. Braynard relies on a phone survey of people linked to registration records to assert

Claim (1) and Claim (2). The survey has a very high non-response rate which makes inferences

suspect. Claim (3) is evidently based on a second survey. Sample design problems, such errors

linking of commercial lists with phone numbers to voter registration lists, high rates of non-

response, and flaws in the questionnaires used, can easily account for the observed results.

        35. Some information about the survey used to support Claim (1) and Claim (2) is

disclosed in the report of Dr. William Briggs. Matthew Braynard did not disclose this information

in this case. Examination of that data revealed fatal flaws in the design of the survey that render

it useless for reaching conclusions about Claim (1) and Claim (2).

                i. The surveys used to support Claims 1, 2, and 3 have high non-response
                rates.




8
 Stephen Ansolabehere and Eitan Hersh, “ADGN: An Algorithm for Record Linkage Using Address, Date of Birth,
Gender, and Name,” Statistics and Public Policy 4 (2017): 1-10.
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        36. The Braynard report does not present a response rate, which violates accepted rules of

scientific evidence in academic survey research. The American Association of Public Opinion

Researchers (AAPOR) sets standards for reporting of response rates for surveys. Journals such as

Public Opinion Quarterly and the American Journal of Political Science require reporting of

response rates to surveys for all published papers. 9 Surveys with very low response rates, below

5 percent, are never accepted in scientific journals.

        37. According to the information in the Briggs Report, the response rate to Mr. Braynard’s

Georgia survey is approximately one half of one percent—four times lower than the response rate

of the survey rejected by the court in Texas v. Holder. That is, 99.5 percent of all people that

Matthew Braynard’s firm sought to contact either could not be contacted, did not respond to the

survey calls, or refused to participate in the survey. The survey originally targeted the entire set

of 138,029 absentee ballots than had not been returned. The appendix to William Briggs survey

shows that the firm was able to obtain potentially-correct phone numbers for 34,355 people.

Attempts to contact these people winnowed the set of respondents to 1,175 people (those who

answered Question 1 of the survey, which ascertains who the person is.) Just 964 people were

asked Question 2 of the survey, which is whether the person requested an absentee ballot. Of these

people, 128 hung up or refused to answer, reducing the number of respondents to 736. That is

only 736 people responded to the survey out of the original 138,029 that the firm sought to

interview. Table 1 summarizes the number of people sought in the survey, the number of match

phone numbers, the number of Completes, and the number of people responding to Questions 1, 2

and 5 (the final question of the survey).




9
 American Association for Public Opinion Research, Response Rates, https://www.aapor.org/Education-
Resources/For-Researchers/Poll-Survey-FAQ/Response-Rates-An-Overview.aspx.
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       38.   The response rate is not reported for the second survey, used in making Claim 3.

Based on figures in Mr. Braynard’s report, I calculate the response rate to be 1.7 percent, which is

again unacceptably low.

       39. In my work as an expert witness for the Department of Justice, it is my experience that

surveys similar to this one with response rates of 2 percent (higher than the surveys here) are not

acceptable as evidence because of potential biases due to the unrepresentativeness of the

respondents who do answer the surveys. Specifically, in Texas v. Holder, Professor Daron Shaw

offered evidence based on phone surveys of registration lists. These surveys had very low response

rates of 2 percent, and the court rejected the data because of serious questions about accuracy and

reliability of surveys with very low response rates. See Texas v. Holder, 888 F. Supp. 2d 113, 131

(D.D.C. 2012), vacated and remanded, 570 U.S. 928, 133 S. Ct. 2886, 186 L. Ed. 2d 930 (2013).

       40. In my experience as a researcher and journal editor, survey data with such a low

response rate are generally not accepted in academic research, as the potential non-response bias

errors are substantial. Researchers sometimes do use data with very low response rates, but only

upon affirmatively demonstrating that the data are representative of the population being studied

or upon correcting for potential non-response bias. Mr. Braynard’s report does neither—it makes

no attempt to show that the 736 people in Georgia who the survey ultimately asked whether they

returned their absentee ballots are representative of the 138,029 that the researchers originally

sought to interview, and it makes no attempt to correct for potential non-response bias.

       41. Mr. Braynard presents survey data with unacceptably high rates of non-response. He

offers no accounting of or explanation for this very low response rate, but instead without

explanation treats the one half of one percent who did respond as if they were representative of the

99.5 percent of people who did not respond. This fails to meet standards of scientific research.
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                ii. Registration-Based samples typically have many incorrect matches to
                phone numbers, and these can explain the findings.

        42. The surveys used in this report to support Claim 1, 2, and 3 are based on an attempt to

match phone numbers to records on the voter files.

        43. There is no information reported on the methodology for matching phone numbers to

voter files. Specifically, there is no information on the specific algorithm used for matching phone

numbers to voter records and its accuracy. There is no report of the rate of successful matches,

erroneous matches (both false positives and false negatives), and non-matches, or of the rate of

obsolete and wrong numbers on the voter file.             It is standard in academic research using

registration-based sampling to report such information in connection with registration-based

sample surveys. 10 Transparency in reporting algorithm is part of the scientific practice because

some algorithms are known to be more accurate than others, and because reporting such

information allows for replication of research. I have published on this list matching and voter

validation in academic journals, and journals expect publication information on rates of successful

matches and erroneous matches when publishing scientific research on this topic. 11 I served as an

expert for the Department of Justice in two cases (Texas v. Holder and United States v. Texas)

involving matching voter registration lists to other records, and information on correct and

incorrect matches was expected as part of the disclosure in those cases.

        44. Prior research has documented that there are substantial errors matching phone

numbers to voter files. Professors Donald Green and Alan Gerber have documented that a third

of records on voter files have no phone number; approximately 10 percent of numbers on voter


10
   Donald P. Green & Alan S. Gerber, “Can Registration-Based Sampling Improve the Accuracy of Midterm
Election Forecasts,” Public Opinion Quarterly 70 (2006): 197-223.
11
   Stephen Ansolabehere & Eitan D. Hersh, “ADGN: An Algorithm for Record Linkage Using Address, Date of
Birth, Gender, and Name,” Statistics and Public Policy 4 (2017): 1-10.
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files are incorrect. 12 Studies conducted by the Pew Research Center on Methodology have found

that in conducting surveys in which phone numbers are matched to voter registration lists that 40

percent of cell phone and 70 percent of landline respondents are not the correct person. 13

        45. Table 1 provides evidence of a high level of incorrect phone numbers in the survey

relied on by Mr. Braynard. First, of the 15,719 Completes, 4,902 (32.3 percent) are flagged for

wrong numbers and language. That indicates a high rate of mismatches even among the phone

numbers that were matched. Second, of the 1,175 responses to Question 1, 255 (21.7 percent)

could not be verified to be the Target of the survey.

        46. Errors of that magnitude in matching phone numbers to voter files and in existing

phone numbers on voter files can easily explain the estimates provided in the report. For example,

using the figures from the Pew Study cited in paragraph 43, if 40 percent of the 1,170 people who

actually answered Mr. Braynard’s survey were the wrong person then the study would have started

with 470 wrong people interviewed. That number far exceeds the number who answered No to

Question 2 or Yes to Question 3. The magnitudes of other potential errors, such as wrong phone

numbers on registration lists or list matching errors, are also of sufficient magnitude to account for

Claims (1), (2), and (3).

                iii. The data for Claims 1 and 2 include people who should not have been
                interviewed.

        47. Mr. Braynard states that his staff first determined that the person was the correct

person, and then asked of that person whether they requested an absentee ballot. (See page 6 of




12
   Green and Gerber, op. cit., page 202.
13
   Pew Research Center, “Comparing Survey Sampling Strategies: Random-Digit Dialing vs. Voter Files,” Pew
Research Center: Methods at 24-25 (October 9, 2018),
https://www.pewresearch.org/methods/2018/10/09/performance-of-the-samples/.
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his report.) The toplines reported in the appendix to the report of William Briggs reveal that this

is not the protocol of the survey.

       48. According to the toplines, Question 1 asks “May I please speak to <lead on the

screen>?” Lead on the screen is the name of the registered voter. 767 cases were recorded as

“Reached Target [Go to Q2].” 255 cases were recorded as blank, but the instructions also state

“[Go to Q2]”. Responses to the same survey conducted in other states indicate that these 255

people were of “uncertain” status. They may or may not have been the correct person.

Nonetheless, they were kept in the pool. As a consequence, 25 percent of the people

interviewed in the survey did not affirmatively state that they were in fact the person that the

interviewer wished to speak to.

       49. Question 2 asks “Did you request an absentee ballot?” 591 people said yes. 128

people said no. In his analysis, Mr. Braynard also includes as yes the 39 people are listed as

“member confirmed ‘Yes’”, and the 14 respondents listed as “member confirmed ‘No’” as no. It

is my understanding from the topline reports for other states appended to Dr. Briggs’ report that

these are family members who were interviewed, and not the actual registrant. The 255 people

who were not the “Reached Target” according to Q1 is larger than the number of people who

said they did not request an absentee ballot on Q2 (128) or the number of people and their family

members who indicated that they did not request a ballot (142). As a result, the entire result of

this survey can be explained by improper inclusion of 255 people who were not the Target of the

survey in the pool of respondents to Question 2 and Question 3.

       50. Responses to Question 2 indicate that family members are interviewed and treated as

valid and reliable responses for a given voter. That contradicts the description of the survey as

interviews of the specific people on the voter files who requested absentee ballots.
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       51. In addition to the branching error from Question 1 to Question 2, there is also a

branching error from Question 2 to Question 3. Question 3 includes people who said that they

were Uncertain as to whether they requested an absentee ballot.

       52. This branching error is a fatal error in the design of the survey. It means that the pool

of respondents has people in it who were not in fact part of the target population. The survey

allowed people who were not supposed to be asked Question 2 to nonetheless be asked Question

2. These are critical errors in survey design. They mean that the set of people who responded to

the survey and were asked Questions 2 and 3 included people should not have been asked

Questions 2 and 3. On its face, the respondents who answered Questions 2 and 3 are not an

accurate representation of those people in the small set of people who responded to the survey who

should have been interviewed.

               iv. There are inconsistencies in the accounting of the number of cases across
               Questions in the survey used for Claims 1 and 2.

       53. There are unexplained missing cases running throughout the topline tables for this

survey. Table 2 presents the Toplines for the questions as reported in Dr. Briggs’ report. From

Table 1 we can calculate the number of people eligible for Question 1, these are “Complete” cases

that are coded as Q5=1 or 2 or Early Hangup/Refused. There are 1,700 cases. Table 2 shows that

1,175 respondents made it to Question 1 in the survey. Hence, 525 respondents are not included

in the total number of responses to Question 1.

       54. The total number of responses to Question 1 that are assigned to Question 2 is 1,022.

That is the number of people listed as “1 Reached Target [Go to Q2]” or as “[Go to Q2].” Of the

original, 58 (5.7% of those assigned to Q2) are unaccounted for.

       54. The total number of responses to Question 2 that are assigned to Question 3 is 670.

That is the number of people listed as “Yes [Go to Q3]” or as “Member confirmed “Yes” [Go to
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Q3]” or as “5. Unsure [Go to 3].” Of the 670 respondents assigned to Q3, only 623 are accounted

for, a slippage of 47 cases (or 7%).

       55. In my professional judgment as a survey researcher, such discrepancies in the

accounting of cases are flags for failures in quality control. A total of 105 cases are not accounted

for in the jumps from Question 1 to Question 2 and from Question 2 to Question 3. Another 525

are not accounted for in the launching of Question 1. Combined, 630 cases are lost in the toplines.

These unaccounted-for cases are on top of the people who refused or hung up. That is a

considerable number of unaccounted cases, given that Claims 1 and Claims 2 are based are only

142 and 257 survey respondents.

       56. I checked the topline tables for the survey data that Dr. Briggs appended to his report

and that Dr. Briggs attributes to Mr. Braynard. Other states show inconsistencies and data errors.

For example, for the state of Wisconsin, the Sum of Respondents for Question 1 is less than the

sum of cases. There are more cases for assigned to Question 2 than answer Question 2 in some

states. In other states there are fewer cases assigned to Question 2 than answer Question 2. The

integrity checks in these other states lead me to believe that the inconsistencies in the Georgia data

are systematic and widespread in these data.

       57. In my experience, when such discrepancies arise during routine integrity checks, they

are either spreadsheet errors or programming logic errors in the survey system (i.e., the logic that

assigns individuals to questions). That these errors appear in the toplines indicates that there was

not a high level of scrutiny into the quality or integrity of the survey data produced in this study.

       58. Based on this assessment, I have no confidence that the data in the survey used to

study Claims 1 and 2 are correct. Basic integrity checks for the data evidently were not performed

or reported. This creates doubt about the survey data for Claim 3, as well.
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                v. The survey does not ascertain Rollover Absentee Voters or disambiguate
                Rollover Absentee Voters from Other Absentee Voters.

        59. Question 2 is not sufficiently clear and specific regarding the meaning of “request an

absentee ballot.” The survey does not ascertain whether respondents are rollover absentee voters

or have a designated person who may request a ballot on their behalf. Georgia allows voters who

are over 65 or incapacitated to receive an absentee ballot automatically without requesting one, so

long as they sign up for that service each year. These are called rollover absentee voters because

their absentee status rolls over from one election to the next in a given year, such as from the

primary to the general election. They do not have to make a request for an absentee to be sent to

them for a specific election.

        60. There were approximately 582,000 “rollover” ballots in Georgia in the November 3,

2020, general election. 14

        61. The substantial number of rollover absentee voters in Georgia creates ambiguity in the

interpretation of the Question 2 of the survey and the meaning of Claim 1. Some permanent

absentee voters may answer “yes” because they registered for permanent absentee status, while

others may say no because they do not need to request a ballot before each election to receive one.

The ambiguity of Question 2, and the failure to disambiguate permanent absentee voters from other

absentee voters in the responses, introduces measurement error in the survey. Additional survey

questions would be required to distinguish different types of absentee voters.                    Without

disambiguating the voters, the survey data cannot be used to draw the conclusion that some survey

respondents received an absentee ballot in error, or that they received an absentee ballot without

requesting one because that is their absentee status.


14
  Stephen Fowler, “Nearly 800,000 Georgians Have Already Requested Absentee Ballots for November,” Ga.
Today, (September 2, 2020) https://www.gpb.org/news/2020/09/02/nearly-800000-georgians-have-already-
requested-absentee-ballots-for-november.
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                 vi. The survey cannot determine whether the respondent properly mailed a
                 ballot to the election office.

        62. Claim 2 holds that 33.29 percent of the 138,029 people who requested an absentee

ballot mailed one to the election office.

        63. This is based on an extrapolation from 257 responses to Question 3. As already

described, the survey has an unacceptably low response rate, a flawed questionnaire design, and

accounting inconsistencies. Moreover, Question 3 is inadequate to measure whether the election

office should have recorded a mailed ballot as received.

        64. It is my experience working with election administrators and researching election

administration as part of the Caltech/MIT Voting Technology Project that many absentee ballots

are not recorded or counted because they are not received on time or are not properly prepared and

submitted. Late absentees are not accepted, and they are usually not recorded in the tally of ballots

received. Ballots that are spoiled, unsigned or in the incorrect envelopes or rejected for some other

reason are not counted. The fact that there is no record of a vote or of a received absentee ballot

is not necessarily evidence of an error in the handling of the ballot. Instead it may be evidence of

correct treatment of ballots by the election officials in accordance with state laws.

        65. According to figures reported by the county election offices in the State of Georgia to

the Election Assistance Commission, there were 3,525 late absentee ballots and 36,255

unaccounted absentee ballots in Georgia in 2018. 15 In addition, there were 7,512 rejected

absentees and 2,322 undeliverable absentees in the State in 2018. These figures far exceed the

total number of survey responses.




15
  I compiled these figures from the spreadsheets published by the Election Assistance Commission for the 2018
Election Administration and Voting Comprehensive Survey (EAVS), last accessed December 2, 2020,
https://www.eac.gov/research-and-data/studies-and-reports.
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        66. Question 3 does not ascertain when the ballot was sent, whether it was signed, and

other factors that would affect whether it was received on time (and thus recorded) or was in fact

a valid ballot. Without accounting for those variables, the conclusion based on the data from

Question 3 is unreliable.

                 vii. Question 3, which asks whether the respondent mailed the ballot, is
                 subject to social desirability bias and memory errors.

        67. Question 3 asks people whether they voted. Specifically, it asks people who said that

they requested an absentee ballot whether they returned an absentee ballot, that is, whether they

voted that ballot.

        68. It has long been understood in political science that respondents to surveys overreport

voting in elections. The most commonly identified sorts of biases are memory errors and social

desirability bias in questions asking people whether they voted. 16 In the context of this survey

such biases would lead to overstatement of Yes responses to Question 3. Mr. Braynard’s report

gives no indication that he attempted to account or correct for these biases.

        D. The list matching methodology that links registration records to NCOA and to
        other states’ voter databases likely has sufficient errors to account for Claims 3, 4,
        and 6.

        69. Claims 3, 4, and 6 rely on data derived from matching voter registration records to

NCOA files or to other states voter files.

        70. The exact methods used for matching the state’s voter files to the NCOA list and to

other states’ voter files are not described. The lack of transparency in reporting the specific fields

for matching and the algorithms used violates academic standards in this field. Exhibit 2 of



16
  See, e.g., Allyson L. Holbrook and Jon A. Krosnick, “Social Desirability Bias in Voter Turnout Reports: Test
Using the Item Count Technique,” Public Opinion Quarterly 74 (2010): 37-67. See also Stephen Ansolabehere and
Eitan Hersh, ,”Validation: What Big Data Reveal About Survey Misreporting and the Real Electorate,” Political
Analysis 20 (2012): 437-459
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Matthew Braynard’s report does mention use of complete date of birth, but no other fields are

mentioned for list matching.        It is standard scientific practice to report algorithms used, match

rates, non-match rates, rates of false positives and false negatives, and sensitivity analyses in

scientific reports and articles using matching and record linkage. 17 Without such information it is

impossible to evaluate the reliability of methods used. No such information is reported here.

        71. Recent academic research on attempts to match voter registration records to other

state’s voter files or to national lists, such as NCOA has shown that this task can be prone to high

rates of error. Crosscheck, a collaboration of 28 states, matches people across states based on first

name, last name, and date of birth. This approach has been determined to be unreliable because it

yields a very high number of incorrect matches. One study found that Crosscheck’s methodology

identified almost 3 million “matching individuals who voted twice nationwide.” All but 600 of

these records were deemed to be false positives, in which the method says two people are the same

but in fact they are not. For those 600 other cases, it could not be determined whether they were

or were not the same individual. 18 The Crosscheck experience suggests that it is quite easy to link

records incorrectly when matching voter files to national lists (such as NCOA) or other states’

registration databases. This example underscores the need to disclose algorithms and provide

evidence that there are no large numbers of false positives and false negatives. Matching on name

and date of birth, as was done using Crosscheck, will likely produce huge numbers of false

positives.

        E. Claim 5 argues that 1,034 individuals disguised their addresses.




17
   W. E. Winkler, “Matching and Record Linkage” Statistical Research Division, U.S. Bureau of the Census, 1993.
https://www.census.gov/srd/papers/pdf/rr93-8.pdf.
18
   United States Commission on Civil Rights, An Assessment of Minority Voting Rights Access in the United
States: 2018 Statutory Enforcement Report. Transmitted to the President September 12, 2018.
https://www.usccr.gov/pubs/2018/Minority_Voting_Access_2018.pdf, at pages 112-113.
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       72. Voter registration forms for the State of Georgia allow for separate residential and

mailing addresses. The form provides a space for apartment numbers but not PO Boxes in mailing

addresses. In my experience working with state databases and performing record linkage, it is

entirely plausible that individuals put PO Box numbers in this blank because the form does not

provide a specific space for that information in mailing addresses.

       73. The list of records appended to Mr. Braynard’s report in Exhibit 3 does not specify

whether the address listed is the residential address or the mailing address of the individual.

       74. It is unclear who these individuals are and why they might use a PO Box address.

These may, for example, be homeless sex offenders or domestic abuse victims. In my experience

working with election administrators through the Caltech/MIT Voting Technology Project I have

learned that many jurisdictions across the United States are not allowed to enforce address rules

for voter registration in special circumstances. I do not know the degree to which Georgia election

administration procedures are flexible about address fields, but certainly the information provided

in Mr. Braynard’s report does not determine whether these might be such circumstances.

       75. There is no description of the procedures used in making this list, especially what fields

are used. No program or code was appended to the report or included, so it is impossible to verify

if the analysis was done correctly.

       F. Summary

       76. None of the six claims made in Matthew Braynard’s report reach acceptable standards

of scientific research. There is a lack of transparency in reporting the survey, matching, and coding

methods, and errors in matching could completely account for any reported numbers or claims.

There are demonstrable and fatal flaws in the survey research, especially unacceptable response

rates, branching errors and data inconsistencies.
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        77. The design of the studies does not test for the obvious explanations of any findings.

The ballots that were received and not requested could be the result of nothing more than the

500,000 rollover absentee voters in the state, who receive ballots without requesting them. The

surveys did not explore this very likely explanation. Many or all of the “unreturned” ballots are

likely late ballots or respondents saying they voted when in fact they had not.

        78. None of the estimates offered as support of the five claims are presented with

appropriate measures of statistical certainty or inferences. Instead, Mr. Braynard prefaces each

claim with the phrase “to a reasonable degree of scientific certainty,” a phrase that has no scientific

meaning and that the National Institutes of Standards and Technology and the Attorney General

of the United States has warned experts not to use. 19 There is no scientific basis offered for the

conclusions reached.




19
  Office of the Attorney General, Recommendations of the National Commission on Forensic Science;
Announcement for NCFS Meeting Eleven, https://www.justice.gov/opa/file/891366/download.
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                                   APPENDIX A

                                       TABLES

Table 1. Phone Survey Targets, Attempts and Completes

                                                        Percent of Targets for Survey

                                 Number of Cases        Remaining in the Survey

                                                        Process

People the Survey Sought to      138,029                100%

Reach (all Unreturned Ballots)

[Targets for Survey]

List Penetration                 No number reported     58.45%



Data Loads (Phone Numbers        34,355                 24.89%

Loaded into the Survey System)



“Completes”

Wrong Numbers/Language           4,902

Answering Machines               13,479

Early Hang Up/Refused            1,516

Q5= 01 or 02                     184

Subtotal: “Completes”            15179                  11.00%



Completes Eligible for Survey    1,700                  1.23%

(Q5 or Early Hang Up/Refused)
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 Asked Q1                               1,175                   0.85%

 Completed Q1 (not Refused or           1,022                   0.74%

 Hangup to Q1)

 Offered a Response to Q2               736                     0.53%

 (without hanging up or refusing)

 Completed Entire Survey (Q5)           185                     0.13%



 Source: William Briggs Report; Briggs states that Matthew Braynard provided him these data.




Table 2. Toplines for the Georgia Survey conducted by Mr. Matthew Braynard as
reported in the report of Dr. William Briggs
 Q1 – May I Please Speak to <lead on screen>?



 1. Reached Target [Go to Q2]           767

 [Go to Q2]*                            255

 X = Refused <Go to CLOSE A>            153

 Q= Hangup <Go to CLOSE A>              385



 Sum of All Responses                   1,175

 * Note: Toplines for other states in Briggs’ report list the
 second response category as “Uncertain.”


 Q2 – Did you request an absentee ballot?
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1. Yes [Go to Q3]                     591

2. No [Go to Q4]                      128

Member confirmed “Yes” [Go to*        39

Member confirmed “No” [Go to          14

4*

5. .Unsure [Go to 3]                  40

Moment. [Go to Close A]               82

X = Refused <Go to CLOSE A>           70

Q= Hangup <Go to CLOSE A>             58



Sum of All Responses                  964

*Note: Toplines for Wisconsin in Briggs’ report describe

these as “per Spouse/family Member.”



Q3 – Did you mail back that ballot?



1. Yes [Go to Q4]                     240

2. No [Go to Close A]                 317

Member confirmed “Yes” [Go to*        17

Member confirmed “No” [Go to          9

Close A]*

5. .Unsure [Go to Close A]            24

Moment. [Go to Close A]               11
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X = Refused <Go to CLOSE A>         5

Q= Hangup <Go to CLOSE A>           7



Sum of All Responses                623

*Note: Toplines for Wisconsin in Briggs’ report describe
these as “per Spouse/family Member.”
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                       Signed at Boston, Massachusetts, on the date below.
                       Date: December 4, 2020



                              _________________________________
                                    Stephen Ansolabehere
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                          STEPHEN DANIEL ANSOLABEHERE


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                                      EDUCATION

Harvard University                 Ph.D., Political Science          1989
University of Minnesota            B.A., Political Science           1984
                                   B.S., Economics



                            PROFESSIONAL EXPERIENCE


ACADEMIC POSITIONS

2016-present    Frank G. Thompson Professor of Government, Harvard University
2008-present    Professor, Department of Government, Harvard University
2015-present    Director, Center for American Politics, Harvard University
1998-2009       Elting Morison Professor, Department of Political Science, MIT
                     (Associate Head, 2001-2005)
1995-1998       Associate Professor, Department of Political Science, MIT
1993-1994       National Fellow, The Hoover Institution
1989-1993       Assistant Professor, Department of Political Science,
                University of California, Los Angeles



FELLOWSHIPS AND HONORS

American Academy of Arts and Sciences                     2007
Carnegie Scholar                                         2000-02
National Fellow, The Hoover Institution                  1993-94
Harry S. Truman Fellowship                               1982-86


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                                      PUBLICATIONS


Books

2019         American Government, 15th edition. With Ted Lowi, Benjamin Ginsberg
                and Kenneth Shepsle. W.W. Norton.

2014         Cheap and Clean: How Americans Think About Energy in the Age of Global
                 Warming. With David Konisky. MIT Press.
                 Recipient of the Donald K. Price book award.

2008         The End of Inequality: One Person, One Vote and the Transformation of
                 American Politics. With James M. Snyder, Jr., W. W. Norton.

1996         Going Negative: How Political Advertising Divides and Shrinks the American
                 Electorate. With Shanto Iyengar. The Free Press. Recipient of the Goldsmith
                 book award.

1993         Media Game: American Politics in the Television Age. With Roy Behr and
                Shanto Iyengar. Macmillan.



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2021     “The CPS Voting and Registration Supplement Overstates Turnout” Journal of
              Politics Forthcoming (with Bernard Fraga and Brian Schaffner)

2021      "Congressional Representation: Accountability from the Constituent's Perspective,"
              American Journal of Political Science forthcoming (with Shiro Kuriwaki)

2020     “Proximity, NIMBYism, and Public Support for Energy Infrastructure”
              Public Opinion Quarterly (with David Konisky and Sanya Carley)
              https://doi.org/10.1093/poq/nfaa025

2020      “Understanding Exponential Growth Amid a Pandemic: An Internal Perspective,”
              Harvard Data Science Review 2 (October) (with Ray Duch, Kevin DeLuca,
              Alexander Podkul, Liberty Vittert)

2020      “Unilateral Action and Presidential Accountability,” Presidential Studies Quarterly
              50 (March): 129-145. (with Jon Rogowski)


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2019     “Backyard Voices: How Sense of Place Shapes Views of Large-Scale Energy
             Transmission Infrastructure” Energy Research & Social Science
             forthcoming(with Parrish Bergquist, Carley Sanya, and David Konisky)

2019     “Are All Electrons the Same? Evaluating support for local transmission lines
             through an experiment”PLOS ONE 14 (7): e0219066
             (with Carley Sanya and David Konisky)
              https://doi.org/10.1371/journal.pone.0219066

2018     “Learning from Recounts” Election Law Journal 17: 100-116 (with Barry C. Burden,
             Kenneth R. Mayer, and Charles Stewart III)
             https://doi.org/10.1089/elj.2017.0440


2018      “Policy, Politics, and Public Attitudes Toward the Supreme Court” American
           Politics Research (with Ariel White and Nathaniel Persily).
             https://doi.org/10.1177/1532673X18765189

2018      “Measuring Issue-Salience in Voters’ Preferences” Electoral Studies (with Maria
           Socorro Puy) 51 (February): 103-114.

2018      “Divided Government and Significant Legislation: A History of Congress,” Social
           Science History (with Maxwell Palmer and Benjamin Schneer).42 (1).

2017       “ADGN: An Algorithm for Record Linkage Using Address, Date of Birth
            Gender and Name,” Statistics and Public Policy (with Eitan Hersh)

2017      “Identity Politics” (with Socorro Puy) Public Choice. 168: 1-19.
           DOI 10.1007/s11127-016-0371-2

2016       “A 200-Year Statistical History of the Gerrymander” (with Maxwell Palmer) The
           Ohio State University Law Journal

2016       “Do Americans Prefer Co-Ethnic Representation? The Impact of Race on House
           Incumbent Evaluations” (with Bernard Fraga) Stanford University Law Review
           68: 1553-1594

2016       Revisiting Public Opinion on Voter Identification and Voter Fraud in an Era of
           Increasing Partisan Polarization” (with Nathaniel Persily) Stanford Law Review
           68: 1455-1489

2015       “The Perils of Cherry Picking Low Frequency Events in Large Sample Surveys”
           (with Brian Schaffner and Samantha Luks) Electoral Studies 40 (December):
           409-410.


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2015       “Testing Shaw v. Reno: Do Majority-Minority Districts Cause Expressive
           Harms?” (with Nathaniel Persily) New York University Law Review 90

2015       “A Brief Yet Practical Guide to Reforming U.S. Voter Registration, Election Law
           Journal, (with Daron Shaw and Charles Stewart) 14: 26-31.

2015       “Waiting to Vote,” Election Law Journal, (with Charles Stewart) 14: 47-53.

2014       “Mecro-economic Voting: Local Information and Micro-Perceptions of the
           Macro-Economy” (With Marc Meredith and Erik Snowberg), Economics and
           Politics 26 (November): 380-410.

2014       “Does Survey Mode Still Matter?” Political Analysis (with Brian Schaffner) 22:
           285-303

2013       “Race, Gender, Age, and Voting” Politics and Governance, vol. 1, issue 2.
           (with Eitan Hersh)
            http://www.librelloph.com/politicsandgovernance/article/view/PaG-1.2.132

2013       “Regional Differences in Racially Polarized Voting: Implications for the
           Constitutionality of Section 5 of the Voting Rights Act” (with Nathaniel Persily
           and Charles Stewart) 126 Harvard Law Review F 205 (2013)
           http://www.harvardlawreview.org/issues/126/april13/forum_1005.php

2013       “Cooperative Survey Research” Annual Review of Political Science (with
           Douglas Rivers)

2013       “Social Sciences and the Alternative Energy Future” Daedalus (with Bob Fri)

2013       “The Effects of Redistricting on Incumbents,” Election Law Journal
           (with James Snyder)

2012       “Asking About Numbers: How and Why” Political Analysis (with Erik
           Snowberg and Marc Meredith). doi:10.1093/pan/mps031

2012        “Movers, Stayers, and Registration” Quarterly Journal of Political Science
           (with Eitan Hersh and Ken Shepsle)

2012       “Validation: What Big Data Reveals About Survey Misreporting and the Real
           Electorate” Political Analysis (with Eitan Hersh)

2012       “Arizona Free Enterprise v. Bennett and the Problem of Campaign Finance”
           Supreme Court Review 2011(1):39-79


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2012       “The American Public’s Energy Choice” Daedalus (with David Konisky)

2012       “Challenges for Technology Change” Daedalus (with Robert Fri)

2011       “When Parties Are Not Teams: Party positions in single-member district and
           proportional representation systems” Economic Theory 49 (March)
           DOI: 10.1007/s00199-011-0610-1 (with James M. Snyder Jr. and William
           Leblanc)

2011       “Profiling Originalism” Columbia Law Review (with Jamal Greene and Nathaniel
           Persily).

2010       “Partisanship, Public Opinion, and Redistricting” Election Law Journal (with
           Joshua Fougere and Nathaniel Persily).

2010       “Primary Elections and Party Polarization” Quarterly Journal of Political Science
           (with Shigeo Hirano, James Snyder, and Mark Hansen)

2010        “Constituents’ Responses to Congressional Roll Call Voting,” American
           Journal of Political Science (with Phil Jones)

2010        “Race, Region, and Vote Choice in the 2008 Election: Implications for
           the Future of the Voting Rights Act” Harvard Law Review April, 2010. (with
           Nathaniel Persily, and Charles H. Stewart III)

2010       “Residential Mobility and the Cell Only Population,” Public Opinion Quarterly
           (with Brian Schaffner)

2009        “Explaining Attitudes Toward Power Plant Location,” Public Opinion Quarterly
           (with David Konisky)

2009       “Public risk perspectives on the geologic storage of carbon dioxide,”
           International Journal of Greenhouse Gas Control (with Gregory Singleton and
           Howard Herzog) 3(1): 100-107.

2008       “A Spatial Model of the Relationship Between Seats and Votes” (with William
           Leblanc) Mathematical and Computer Modeling (November).

2008       “The Strength of Issues: Using Multiple Measures to Gauge Preference Stability,
           Ideological Constraint, and Issue Voting” (with Jonathan Rodden and James M.
           Snyder, Jr.) American Political Science Review (May).

2008       “Access versus Integrity in Voter Identification Requirements.” New York


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           University Annual Survey of American Law, vol 63.

2008       “Voter Fraud in the Eye of the Beholder” (with Nathaniel Persily) Harvard Law
            Review (May)

2007       “Incumbency Advantages in U. S. Primary Elections,” (with John Mark Hansen,
           Shigeo Hirano, and James M. Snyder, Jr.) Electoral Studies (September)

2007        “Television and the Incumbency Advantage” (with Erik C. Snowberg and
           James M. Snyder, Jr). Legislative Studies Quarterly.

2006       “The Political Orientation of Newspaper Endorsements” (with Rebecca
           Lessem and James M. Snyder, Jr.). Quarterly Journal of Political Science vol. 1,
           issue 3.

2006       “Voting Cues and the Incumbency Advantage: A Critical Test” (with Shigeo
           Hirano, James M. Snyder, Jr., and Michiko Ueda) Quarterly Journal of
           Political Science vol. 1, issue 2.

2006       “American Exceptionalism? Similarities and Differences in National Attitudes
           Toward Energy Policies and Global Warming” (with David Reiner, Howard
           Herzog, K. Itaoka, M. Odenberger, and Fillip Johanssen) Environmental Science
           and Technology (February 22, 2006),
           http://pubs3.acs.org/acs/journals/doilookup?in_doi=10.1021/es052010b

2006       “Purple America” (with Jonathan Rodden and James M. Snyder, Jr.) Journal
           of Economic Perspectives (Winter).

2005       “Did the Introduction of Voter Registration Decrease Turnout?” (with David
            Konisky). Political Analysis.

2005       “Statistical Bias in Newspaper Reporting: The Case of Campaign Finance”
           Public Opinion Quarterly (with James M. Snyder, Jr., and Erik Snowberg).

2005       “Studying Elections” Policy Studies Journal (with Charles H. Stewart III and R.
           Michael Alvarez).

2005        “Legislative Bargaining under Weighted Voting” American Economic Review
           (with James M. Snyder, Jr., and Michael Ting)

2005       “Voting Weights and Formateur Advantages in Coalition Formation: Evidence
           from Parliamentary Coalitions, 1946 to 2002” (with James M. Snyder, Jr., Aaron
           B. Strauss, and Michael M. Ting) American Journal of Political Science.



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2005        “Reapportionment and Party Realignment in the American States” Pennsylvania
            Law Review (with James M. Snyder, Jr.)

2004       “Residual Votes Attributable to Voting Technologies” (with Charles Stewart)
           Journal of Politics

2004       “Using Term Limits to Estimate Incumbency Advantages When Office Holders
           Retire Strategically” (with James M. Snyder, Jr.). Legislative Studies Quarterly
           vol. 29, November 2004, pages 487-516.

2004       “Did Firms Profit From Soft Money?” (with James M. Snyder, Jr., and Michiko
           Ueda) Election Law Journal vol. 3, April 2004.

2003       “Bargaining in Bicameral Legislatures” (with James M. Snyder, Jr. and Mike
           Ting) American Political Science Review, August, 2003.

2003       “Why Is There So Little Money in U.S. Politics?” (with James M. Snyder, Jr.)
           Journal of Economic Perspectives, Winter, 2003.

2002       “Equal Votes, Equal Money: Court-Ordered Redistricting and the Public
           Spending in the American States” (with Alan Gerber and James M. Snyder, Jr.)
           American Political Science Review, December, 2002.
           Paper awarded the Heinz Eulau award for the best paper in the American Political
           Science Review.

2002       “Are PAC Contributions and Lobbying Linked?” (with James M. Snyder, Jr. and
           Micky Tripathi) Business and Politics 4, no. 2.

2002       “The Incumbency Advantage in U.S. Elections: An Analysis of State and Federal
           Offices, 1942-2000” (with James Snyder) Election Law Journal, 1, no. 3.

2001       “Voting Machines, Race, and Equal Protection.” Election Law Journal, vol. 1,
           no. 1

2001       “Models, assumptions, and model checking in ecological regressions” (with
           Andrew Gelman, David Park, Phillip Price, and Larraine Minnite) Journal of
           the Royal Statistical Society, series A, 164: 101-118.

2001       “The Effects of Party and Preferences on Congressional Roll Call Voting.”
           (with James Snyder and Charles Stewart) Legislative Studies Quarterly
           (forthcoming).
           Paper awarded the Jewell-Lowenberg Award for the best paper published on
           legislative politics in 2001. Paper awarded the Jack Walker Award for the best
           paper published on party politics in 2001.


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2001       “Candidate Positions in Congressional Elections,” (with James Snyder and
           Charles Stewart). American Journal of Political Science 45 (November).

2000       “Old Voters, New Voters, and the Personal Vote,” (with James Snyder and
           Charles Stewart) American Journal of Political Science 44 (February).

2000       “Soft Money, Hard Money, Strong Parties,” (with James Snyder) Columbia Law
           Review 100 (April):598 - 619.

2000       “Campaign War Chests and Congressional Elections,” (with James Snyder)
            Business and Politics. 2 (April): 9-34.

1999       “Replicating Experiments Using Surveys and Aggregate Data: The Case of
            Negative Advertising.” (with Shanto Iyengar and Adam Simon) American
           Political Science Review 93 (December).

1999       “Valence Politics and Equilibrium in Spatial Models,” (with James Snyder),
            Public Choice.

1999       “Money and Institutional Power,” (with James Snyder), Texas Law Review 77
           (June, 1999): 1673-1704.

1997       “Incumbency Advantage and the Persistence of Legislative Majorities,” (with Alan
           Gerber), Legislative Studies Quarterly 22 (May 1997).

1996       “The Effects of Ballot Access Rules on U.S. House Elections,” (with Alan
           Gerber), Legislative Studies Quarterly 21 (May 1996).

1994       “Riding the Wave and Issue Ownership: The Importance of Issues in Political
           Advertising and News,” (with Shanto Iyengar) Public Opinion Quarterly 58:
           335-357.

1994       “Horseshoes and Horseraces: Experimental Evidence of the Effects of Polls on
           Campaigns,” (with Shanto Iyengar) Political Communications 11/4 (October-
           December): 413-429.

1994       “Does Attack Advertising Demobilize the Electorate?” (with Shanto Iyengar),
           American Political Science Review 89 (December).

1994       “The Mismeasure of Campaign Spending: Evidence from the 1990 U.S. House
           Elections,” (with Alan Gerber) Journal of Politics 56 (September).

1993       “Poll Faulting,” (with Thomas R. Belin) Chance 6 (Winter): 22-28.


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       Case 1:20-cv-04809-TCB Document 62-1 Filed 12/05/20 Page 42 of 49




1991        “The Vanishing Marginals and Electoral Responsiveness,” (with David Brady and
            Morris Fiorina) British Journal of Political Science 22 (November): 21-38.

1991        “Mass Media and Elections: An Overview,” (with Roy Behr and Shanto Iyengar)
            American Politics Quarterly 19/1 (January): 109-139.

1990        “The Limits of Unraveling in Interest Groups,” Rationality and Society 2:
             394-400.

1990        “Measuring the Consequences of Delegate Selection Rules in Presidential
            Nominations,” (with Gary King) Journal of Politics 52: 609-621.

1989        “The Nature of Utility Functions in Mass Publics,” (with Henry Brady) American
            Political Science Review 83: 143-164.


Special Reports and Policy Studies

2010        The Future of Nuclear Power, Revised.

2006        The Future of Coal. MIT Press. Continued reliance on coal as a primary power
            source will lead to very high concentrations of carbon dioxide in the atmosphere,
            resulting in global warming. This cross-disciplinary study – drawing on faculty
            from Physics, Economics, Chemistry, Nuclear Engineering, and Political Science
            – develop a road map for technology research and development policy in order to
            address the challenges of carbon emissions from expanding use of coal for
            electricity and heating throughout the world.

2003        The Future of Nuclear Power. MIT Press. This cross-disciplinary study –
            drawing on faculty from Physics, Economics, Chemistry, Nuclear Engineering,
            and Political Science – examines the what contribution nuclear power can make to
            meet growing electricity demand, especially in a world with increasing carbon
            dioxide emissions from fossil fuel power plants.

2002        “Election Day Registration.” A report prepared for DEMOS. This report analyzes
            the possible effects of Proposition 52 in California based on the experiences of 6
            states with election day registration.

2001        Voting: What Is, What Could Be. A report of the Caltech/MIT Voting
            Technology Project. This report examines the voting system, especially
            technologies for casting and counting votes, registration systems, and polling place
            operations, in the United States. It was widely used by state and national
            governments in formulating election reforms following the 2000 election.


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2001       “An Assessment of the Reliability of Voting Technologies.” A report of the
           Caltech/MIT Voting Technology Project. This report provided the first
           nationwide assessment of voting equipment performance in the United States. It
           was prepared for the Governor’s Select Task Force on Election Reform in Florida.


Chapters in Edited Volumes


2016       “Taking the Study of Public Opinion Online” (with Brian Schaffner) Oxford
           Handbook of Public Opinion, R. Michael Alvarez, ed. Oxford University Press:
            New York, NY.

2014       “Voter Registration: The Process and Quality of Lists” The Measure of
           American Elections, Barry Burden, ed..

2012       “Using Recounts to Measure the Accuracy of Vote Tabulations: Evidence from
           New Hampshire Elections, 1946-2002” in Confirming Elections, R. Michael
           Alvarez, Lonna Atkeson, and Thad Hall, eds. New York: Palgrave, Macmillan.

2010       “Dyadic Representation” in Oxford Handbook on Congress, Eric Schickler, ed.,
           Oxford University Press.

2008       “Voting Technology and Election Law” in America Votes!, Benjamin Griffith,
           editor, Washington, DC: American Bar Association.

2007       “What Did the Direct Primary Do to Party Loyalty in Congress” (with
           Shigeo Hirano and James M. Snyder Jr.) in Process, Party and Policy
            Making: Further New Perspectives on the History of Congress, David
           Brady and Matthew D. McCubbins (eds.), Stanford University Press, 2007.

2007       “Election Administration and Voting Rights” in Renewal of the Voting
           Rights Act, David Epstein and Sharyn O’Hallaran, eds. Russell Sage Foundation.

2006       “The Decline of Competition in Primary Elections,” (with John Mark Hansen,
           Shigeo Hirano, and James M. Snyder, Jr.) The Marketplace of Democracy,
           Michael P. McDonald and John Samples, eds. Washington, DC: Brookings.

2005       “Voters, Candidates and Parties” in Handbook of Political Economy, Barry
           Weingast and Donald Wittman, eds. New York: Oxford University Press.

2003       “Baker v. Carr in Context, 1946 – 1964” (with Samuel Isaacharoff) in
           Constitutional Cases in Context, Michael Dorf, editor. New York: Foundation
           Press.

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2002       “Corruption and the Growth of Campaign Spending”(with Alan Gerber and James
           Snyder). A User’s Guide to Campaign Finance, Jerry Lubenow, editor. Rowman
           and Littlefield.

2001       “The Paradox of Minimal Effects,” in Henry Brady and Richard Johnston, eds.,
           Do Campaigns Matter? University of Michigan Press.

2001       “Campaigns as Experiments,” in Henry Brady and Richard Johnson, eds., Do
           Campaigns Matter? University of Michigan Press.

2000       “Money and Office,” (with James Snyder) in David Brady and John Cogan, eds.,
           Congressional Elections: Continuity and Change. Stanford University Press.

1996       “The Science of Political Advertising,” (with Shanto Iyengar) in Political
           Persuasion and Attitude Change, Richard Brody, Diana Mutz, and Paul
           Sniderman, eds. Ann Arbor, MI: University of Michigan Press.

1995       “Evolving Perspectives on the Effects of Campaign Communication,” in Philo
           Warburn, ed., Research in Political Sociology, vol. 7, JAI.

1995       “The Effectiveness of Campaign Advertising: It’s All in the Context,” (with
           Shanto Iyengar) in Campaigns and Elections American Style, Candice Nelson and
           James A. Thurber, eds. Westview Press.

1993       “Information and Electoral Attitudes: A Case of Judgment Under Uncertainty,”
           (with Shanto Iyengar), in Explorations in Political Psychology, Shanto Iyengar
           and William McGuire, eds. Durham: Duke University Press.

Working Papers

2009       “Sociotropic Voting and the Media” (with Marc Meredith and Erik Snowberg),
           American National Election Study Pilot Study Reports, John Aldrich editor.

2007       “Public Attitudes Toward America’s Energy Options: Report of the 2007 MIT
           Energy Survey” CEEPR Working Paper 07-002 and CANES working paper.

2006      "Constituents' Policy Perceptions and Approval of Members' of Congress" CCES
          Working Paper 06-01 (with Phil Jones).

2004       “Using Recounts to Measure the Accuracy of Vote Tabulations: Evidence from
           New Hampshire Elections, 1946 to 2002” (with Andrew Reeves).

2002       “Evidence of Virtual Representation: Reapportionment in California,” (with


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           Ruimin He and James M. Snyder).

1999       “Why did a majority of Californians vote to lower their own power?” (with James
           Snyder and Jonathan Woon). Paper presented at the annual meeting of the
           American Political Science Association, Atlanta, GA, September, 1999.
           Paper received the award for the best paper on Representation at the 1999 Annual
           Meeting of the APSA.

1999       “Has Television Increased the Cost of Campaigns?” (with Alan Gerber and James
           Snyder).

1996       “Money, Elections, and Candidate Quality,” (with James Snyder).

1996       “Party Platform Choice - Single- Member District and Party-List Systems,”(with
           James Snyder).

1995       “Messages Forgotten” (with Shanto Iyengar).

1994       “Consumer Contributors and the Returns to Fundraising: A Microeconomic
           Analysis,” (with Alan Gerber), presented at the Annual Meeting of the American
           Political Science Association, September.

1992       “Biases in Ecological Regression,” (with R. Douglas Rivers) August, (revised
           February 1994). Presented at the Midwest Political Science Association Meetings,
           April 1994, Chicago, IL.

1992       “Using Aggregate Data to Correct Nonresponse and Misreporting in Surveys”
           (with R. Douglas Rivers). Presented at the annual meeting of the Political
           Methodology Group, Cambridge, Massachusetts, July.

1991       “The Electoral Effects of Issues and Attacks in Campaign Advertising” (with
           Shanto Iyengar). Presented at the Annual Meeting of the American Political
           Science Association, Washington, DC.

1991       “Television Advertising as Campaign Strategy: Some Experimental Evidence”
           (with Shanto Iyengar). Presented at the Annual Meeting of the American
           Association for Public Opinion Research, Phoenix.

1991       “Why Candidates Attack: Effects of Televised Advertising in the 1990 California
           Gubernatorial Campaign,” (with Shanto Iyengar). Presented at the Annual
           Meeting of the Western Political Science Association, Seattle, March.

1990       “Winning is Easy, But It Sure Ain’t Cheap.” Working Paper #90-4, Center for the
           American Politics and Public Policy, UCLA. Presented at the Political Science
           Departments at Rochester University and the University of Chicago.

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Research Grants

1989-1990    Markle Foundation. “A Study of the Effects of Advertising in the 1990
             California Gubernatorial Campaign.” Amount: $50,000

1991-1993    Markle Foundation. “An Experimental Study of the Effects of Campaign
             Advertising.” Amount: $150,000

1991-1993    NSF. “An Experimental Study of the Effects of Advertising in the 1992
             California Senate Electoral.” Amount: $100,000

1994-1995    MIT Provost Fund. “Money in Elections: A Study of the Effects of Money on
             Electoral Competition.” Amount: $40,000

1996-1997    National Science Foundation. “Campaign Finance and Political Representation.”
             Amount: $50,000

1997         National Science Foundation. “Party Platforms: A Theoretical Investigation of
             Party Competition Through Platform Choice.” Amount: $40,000

1997-1998    National Science Foundation. “The Legislative Connection in Congressional
             Campaign Finance. Amount: $150,000

1999-2000    MIT Provost Fund. “Districting and Representation.” Amount: $20,000.

1999-2002   Sloan Foundation. “Congressional Staff Seminar.” Amount: $156,000.

2000-2001    Carnegie Corporation. “The Caltech/MIT Voting Technology Project.”
             Amount: $253,000.

2001-2002    Carnegie Corporation. “Dissemination of Voting Technology Information.”
             Amount: $200,000.

2003-2005    National Science Foundation. “State Elections Data Project.” Amount:
             $256,000.

2003-2004    Carnegie Corporation. “Internet Voting.” Amount: $279,000.

2003-2005    Knight Foundation. “Accessibility and Security of Voting Systems.” Amount:
             $450,000.

2006-2008    National Science Foundation, “Primary Election Data Project,” $186,000


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2008-2009     Pew/JEHT. “Measuring Voting Problems in Primary Elections, A National
              Survey.” Amount: $300,000

2008-2009     Pew/JEHT. “Comprehensive Assessment of the Quality of Voter Registration
              Lists in the United States: A pilot study proposal” (with Alan Gerber).
              Amount: $100,000.

2010-2011     National Science Foundation, “Cooperative Congressional Election Study,”
              $360,000

2010-2012     Sloan Foundation, “Precinct-Level U. S. Election Data,” $240,000.

2012-2014     National Science Foundation, “Cooperative Congressional Election Study, 2010-
              2012 Panel Study” $425,000

2012-2014     National Science Foundation, “2012 Cooperative Congressional Election
              Study,” $475,000

2014-2016     National Science Foundation, “Cooperative Congressional Election Study, 2010-
              2014 Panel Study” $510,000

2014-2016     National Science Foundation, “2014 Cooperative Congressional Election
              Study,” $400,000

2016-2018     National Science Foundation, “2016 Cooperative Congressional Election
              Study,” $485,000

2018-2020     National Science Foundation, “2018 Cooperative Congressional Election
              Study,” $844,784.

2019-2022     National Science Foundation, RIDIR: “Collaborative Research: Analytic Tool
              for Poststratification and small-area estimation for survey data.” $942,607



Professional Boards

Editor, Cambridge University Press Book Series, Political Economy of Institutions and
Decisions, 2006-2016

Member, Board of the Reuters International School of Journalism, Oxford University, 2007 to
present.

Member, Academic Advisory Board, Electoral Integrity Project, 2012 to present.


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Contributing Editor, Boston Review, The State of the Nation.

Member, Board of Overseers, American National Election Studies, 1999 - 2013.

Associate Editor, Public Opinion Quarterly, 2012 to 2013.

Editorial Board of Harvard Data Science Review, 2018 to present.
Editorial Board of American Journal of Political Science, 2005 to 2009.
Editorial Board of Legislative Studies Quarterly, 2005 to 2010.
Editorial Board of Public Opinion Quarterly, 2006 to present.
Editorial Board of the Election Law Journal, 2002 to present.
Editorial Board of the Harvard International Journal of Press/Politics, 1996 to 2008.
Editorial Board of Business and Politics, 2002 to 2008.
Scientific Advisory Board, Polimetrix, 2004 to 2006.


Special Projects and Task Forces

Principal Investigator, Cooperative Congressional Election Study, 2005 – present.

CBS News Election Decision Desk, 2006-present

Co-Director, Caltech/MIT Voting Technology Project, 2000-2004.

Co-Organizer, MIT Seminar for Senior Congressional and Executive Staff, 1996-2007.

MIT Energy Innovation Study, 2009-2010.
MIT Energy Initiative, Steering Council, 2007-2008
MIT Coal Study, 2004-2006.
MIT Energy Research Council, 2005-2006.
MIT Nuclear Study, 2002-2004.
Harvard University Center on the Environment, Council, 2009-present


Expert Witness, Consultation, and Testimony

2001           Testimony on Election Administration, U. S. Senate Committee on Commerce.
2001           Testimony on Voting Equipment, U.S. House Committee on Science, Space,
               and Technology
2001           Testimony on Voting Equipment, U.S. House Committee on House
               Administration
2001           Testimony on Voting Equipment, Congressional Black Caucus
2002-2003      McConnell v. FEC, 540 U.S. 93 (2003), consultant to the Brennan Center.
2009           Amicus curiae brief with Professors Nathaniel Persily and Charles Stewart on
               behalf of neither party to the U.S. Supreme Court in the case of Northwest

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             Austin Municipal Utility District Number One v. Holder, 557 U.S. 193 (2009).
2009         Testimony on Voter Registration, U. S. Senate Committee on Rules.
2011-2015    Perez v. Perry, U. S. District Court in the Western District of Texas (No. 5:11-
             cv-00360). Exert witness on behalf of Rodriguez intervenors.
2011-2013     State of Texas v. United States, the U.S. District Court in the District of
             Columbia (No. 1:11-cv-01303), expert witness on behalf of the Gonzales
             intervenors.
2012-2013    State of Texas v. Holder, U.S. District Court in the District of Columbia (No.
             1:12-cv-00128), expert witness on behalf of the United States.
2011-2012    Guy v. Miller in U.S. District Court for Nevada (No. 11-OC-00042-1B), expert
             witness on behalf of the Guy plaintiffs.
2012         In re Senate Joint Resolution of Legislative Apportionment, Florida Supreme
             Court (Nos. 2012-CA-412, 2012-CA-490), consultant for the Florida
             Democratic Party.
2012-2014    Romo v. Detzner, Circuit Court of the Second Judicial Circuit in Florida (No.
             2012 CA 412), expert witness on behalf of Romo plaintiffs.
2013-2014    LULAC v. Edwards Aquifer Authority, U.S. District Court for the Western
             District of Texas, San Antonio Division (No. 5:12cv620-OLG,), consultant and
             expert witness on behalf of the City of San Antonio and San Antonio Water
             District
2013-2014    Veasey v. Perry, U. S. District Court for the Southern District of Texas, Corpus
             Christi Division (No. 2:13-cv-00193), consultant and expert witness on behalf of
             the United States Department of Justice.
2013-2015    Harris v. McCrory, U. S. District Court for the Middle District of North
             Carolina (No. 1:2013cv00949), consultant and expert witness on behalf of the
             Harris plaintiffs. (later named Cooper v. Harris)
2014         Amicus curiae brief, on behalf of neither party, Supreme Court of the United
             States, Alabama Democratic Conference v. State of Alabama.
2014- 2016   Bethune-Hill v. Virginia State Board of Elections, U. S. District Court for the
             Eastern District of Virginia (No. 3:2014cv00852), consultant and expert on
             behalf of the Bethune-Hill plaintiffs.
2015         Amicus curiae brief in support of Appellees, Supreme Court of the United
             States, Evenwell v. Abbott
2016-2017    Perez v. Abbott, U. S. District Court in the Western District of Texas (No. 5:11-
             cv-00360). Exert witness on behalf of Rodriguez intervenors.
2017-2018    Fish v. Kobach, U. S. District Court in the District of Kansas (No. 2:16-cv-
             02105-JAR). Expert witness of behalf of the Fish plaintiffs.




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